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 ·1· ·of any document signed by SPARTA that amends the

 ·2· ·2007 stock purchase agreement?

 ·3· · · · A.· If your question is asking a document

 ·4· ·signed by SPARTA, I'm not aware of such a document

 ·5· ·other than what I've indicated before as effecting

 ·6· ·the amendment, termination, whatever you want to

 ·7· ·call it.

 ·8· · · · Q.· And none of those documents are signed by

 ·9· ·SPARTA, correct?

 10· · · · A.· I don't recall those documents being

 11· ·signed by SPARTA.

 12· · · · Q.· Other than Exhibits 3 and 4, is PGIC aware

 13· ·of any document signed by SPARTA that modifies or

 14· ·waives any provision of the 2007 stock purchase

 15· ·agreement?

 16· · · · A.· Answering your question about a document

 17· ·signed by SPARTA, I am not aware of such a

 18· ·document.

 19· · · · Q.· Okay.

 20· · · · · · Let's turn to section 12.9, which is

 21· ·titled "Notices"; do you see that, sir?

 22· · · · A.· I do.


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 ·1· ·and assumption agreement on behalf of OneBeacon

 ·2· ·Insurance Company, correct?

 ·3· · · · A.· Yes.

 ·4· · · · Q.· SPARTA is not a signatory to the 2012

 ·5· ·transfer and assumption agreement marked as

 ·6· ·Exhibit 5, correct?

 ·7· · · · A.· SPARTA is not a signatory to that

 ·8· ·document.

 ·9· · · · Q.· Prior to the date the transfer and

 10· ·assumption agreement was executed, did anyone tell

 11· ·SPARTA that this document would be signed?

 12· · · · A.· I don't have any knowledge whether

 13· ·OneBeacon Insurance Company advised SPARTA one way

 14· ·or the other or Pennsylvania General Insurance

 15· ·Company advised SPARTA one way or the other.

 16· · · · Q.· Sitting here today, you don't know for

 17· ·certain anyone who did tell SPARTA about the

 18· ·2012 transfer and assumption agreement before it

 19· ·was signed?

 20· · · · A.· I don't know one way or the other.

 21· · · · Q.· But you can't point me to something today

 22· ·and say here's an example of where SPARTA received


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